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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                        Civil Action Number:

    JESUS GONZALEZ

           Plaintiff,
    vs.

    THE CHEESECAKE FACTORY
    RESTAURANTS INC
    d/b/a The Cheesecake Factory #214
    at Ponce de Leon Boulevard, and
    BALBRO 25-26, LLC

           Defendants.
                                                  /

                           COMPLAINT FOR INJUNCTIVE RELIEF

           Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

    hereby sues Defendant The Cheesecake Factory Restaurants, Inc. doing business as The

    Cheesecake Factory #214 at Ponce de Leon Boulevard and Defendant Balbro 25-26, LLC

    for injunctive relief pursuant to 42 U.S.C. §§12181-12189 of the Americans with

    Disabilities Act (“ADA”) and 28 C.F.R. Part 36 and alleges:

                                          JURISDICTION

           1.      This is an action for declaratory and injunctive relief pursuant to Title III of

    the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

    vested with original jurisdiction under 28 U.S.C. §1331.

           2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

    events giving rise to this lawsuit occurred within the Southern District of Florida and the

    subject premises is located within the jurisdiction of this Court.




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            3.       Defendants The Cheesecake Factory Restaurants, Inc. and Balbro 25-26,

    LLC are authorized to conduct, and are conducting, business within the State of Florida and

    within the jurisdiction of this court.

                                               PARTIES

            4.       Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff has a

    “qualified disability” under the ADA as he is disabled with neuropathy and nerve damage

    due to radiation and utilizes a wheelchair for mobility. Plaintiff’s disability is defined in 42

    US Code §12102(1)(A)(2), 28 C.F.R. §36.105(b)(2) and 28 C.F.R. §36.105(2)(iii)(D).

    Plaintiff is also a “tester” to determine whether public accommodations are in compliance

    with the ADA/ADAAG.

            5.       Defendant The Cheesecake Factory Restaurants, Inc. (also referenced as

    “Defendant Factory Restaurants,” “operator,” or “lessee”) is a foreign for-profit corporation

    authorized to transact business in Florida. On information and belief, The Cheesecake

    Factory Restaurants, Inc. is a subsidiary of The Cheesecake Factory Incorporated, which is a

    publicly traded company on the NASDAQ exchange and on the S&P 600 component. The

    Cheesecake Factory Incorporated is an American restaurant company and distributor of

    cheesecakes and other signature Cheesecake food items. There are 206 Cheesecake Factory

    brand restaurants and 13 Grand Lux Café brand restaurants throughout the Unites States.

    Defendant Factory Restaurants is the operator of The Cheesecake Factory which is the

    subject of this instant action, which is located at 2418 Ponce de Leon Blvd, Coral Gables,

    Florida 33134.

            6.       Defendant Balbro 25-26, LLC        (also referenced as “Defendant Balbro,”

    “owner,” or “lessor”) is a Florida limited liability company which is the owner of




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    commercial real property identified as Folio 03-4117-005-0360, which is located at 2418

    Ponce de Leon Blvd, Coral Gables, Florida 33134 which is built out as a restaurant.

                                                FACTS

           7.      At all times material hereto, Defendant Balbro has leased its commercial

    property to Defendant Factory Restaurants who in turn has operated (and continues to

    operate) it’s The Cheesecake Factory brand restaurant within that leased space.

           8.      The Cheesecake Factory restaurant at 2418 Ponce de Leon Blvd, Coral

    Gables, Florida 33134 is open to the general public and therefore is a place of public

    accommodation pursuant to 42 U.S.C. §12181(7)(B) and 28 C.F.R. §36.104(2) as “a

    restaurant, bar, or other establishment serving food or drink.” The subject Cheesecake

    Factory restaurant is also referred to as “Cheesecake Factory             (on Ponce de Leon

    Boulevard),” “restaurant,” or “place of public accommodation.”

           9.      As the operator of a restaurant which is open to the public, Defendant

    Factory Restaurants is defined as a “Public Accommodation" within meaning of Title III

    because it is a private entity which owns, or operates a restaurant; 42 U.S.C.

    §12182, §12181(7)(B) and 28 C.F.R. §36.104(2).

           10.     Due to the close proximity to Plaintiff’s home to the Cheesecake Factory on

    Ponce de Leon Boulevard, on May 29, 2022 Plaintiff personally visited the restaurant to

    purchase a meal and dine therein and to test for compliance with the ADA/ADAAG.

           11.     Due to the fact that he perambulates with the assistance of a wheelchair,

    Plaintiff met barriers to access while testing/dining within the restaurant.

           12.     Based on the access impediments Plaintiff encountered, Plaintiff has been

    denied full and equal access by the operator of the Cheesecake Factory restaurant




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    (Defendant Factory Restaurants) and by the owner of the commercial property which houses

    the restaurant (Defendant Balbro).

            13.       As the owner and operator of a Cheesecake Factory brand restaurant,

    Defendant Factory Restaurants is well aware of the ADA and the need to provide for equal

    access in all areas of its restaurant. Therefore, its failure to reasonably accommodate

    mobility impaired and disabled patrons by insuring that its Cheesecake Factory restaurant

    on Ponce de Leon Boulevard is fully accessible is/was willful, malicious, and oppressive

    and in complete disregard for the Civil Rights of the Plaintiff and in violation of 28 C.F.R.

    §36.302.

            14.       As the owner of commercial property which is built out and utilized as a

    Cheesecake Factory brand restaurant open to the general public, Defendant Balbro are also

    defined as a “Public Accommodation" within meaning of Title III; 42 U.S.C.

    §12182, §12181(7)(B) and 28 C.F.R. §36.104(2).

            15.       As the owner of commercial property used as a place of public

    accommodation, Defendant Balbro is aware of the ADA and the need to provide for equal

    access in all areas of its commercial property which are open to the public. Failure to

    reasonably accommodate mobility impaired and disabled patrons by insuring that its

    commercial property is fully accessible is/was willful, malicious, and oppressive and in

    complete disregard for the civil rights of the Plaintiff and in violation of 28 C.F.R. §36.302.

            16.       As a result of the joint and several discrimination by Defendants, Plaintiff

    has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

    injury-in-fact.




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           17.     Plaintiff continues to desire to patronize and/or test the Cheesecake Factory

    restaurant on Ponce de Leon Boulevard, but continues to be injured in that he continues to

    be discriminated against due to the barriers to access within that place of public

    accommodation, all which are in violation of the ADA.

           18.     Any and all requisite notice has been provided.

           19.     Plaintiff has been obligated to retain the civil rights law office of J. Courtney

    Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

    this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

    attorney’s fees, costs and expenses from Defendants pursuant to 42 U.S.C. §12205.

                   COUNT I – VIOLATIONS OF TITLE III OF THE ADA

           20.     The ADA was enacted and effective as of July 26, 1990 and ADA legislation

    has been protecting disabled persons from discrimination due to disabilities since that time.

    Over 30 years have passed since enactment of the ADA, public accommodations and places

    of public accommodation have had adequate time for compliance.

           21.     Congress explicitly stated that the purpose of the ADA was to:

          (i)      provide a clear and comprehensive national mandate for the
                   elimination of discrimination against individuals with disabilities;
          (ii)     provide clear, strong, consistent, enforceable standards addressing
                   discrimination against individuals with disabilities; and,
           (iii)   invoke the sweep of congressional authority, including the power to
                   enforce the fourteenth amendment and to regulate commerce, in
                   order to address the major areas of discrimination faced on a daily
                   by people with disabilities.

                   42 U.S.C. §12101(b)(1)(2) and (4).

           22.     Prior to the filing of this lawsuit, Plaintiff personally visited the Cheesecake

    Factory restaurant on Ponce de Leon Boulevard with the intention of patronizing that

    restaurant, to enjoy a meal and/or test the public accommodation for compliance with the



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    ADA/ADAAG; however, Plaintiff was denied adequate accommodation because, as a

    disabled individual who utilizes a wheelchair for mobility, Plaintiff met barriers to access.

    Therefore, Plaintiff has suffered an injury in fact.

           23.     Defendant Balbro and Defendant Factory Restaurants have discriminated

    (and continue to discriminate) against Plaintiff by denying full and equal access to, and full

    and equal enjoyment of, goods, services, facilities, privileges, advantages and/or

    accommodations at the Cheesecake Factory restaurant on Ponce de Leon Boulevard in

    derogation of 42 U.S.C. §12101 et seq., and as prohibited by 42 U.S.C. §12182 et seq. by

    failing to remove barriers to access pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such

    removal is readily achievable.

           24.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

    equal safe access to, and the benefits of, all the accommodations and services offered at the

    Cheesecake Factory restaurant.

           25.     Defendants are jointly and singularly governed by the ADA and must be in

    compliance therewith. However, Defendant Balbro and Defendant Factory Restaurants have

    discriminated against disabled patrons in derogation of 28 C.F.R. Part 36.

           26.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

    amended), the Department of Justice, Office of the Attorney General, promulgated Federal

    Regulations to implement the requirements of the ADA, known as the Americans with

    Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

    which said Department may obtain civil penalties of up to $75,000 for the first violation and

    $150,000 for any subsequent violation.




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            27.     Defendant Balbro’s commercial property, which houses Defendant Factory

    Restaurants’ Cheesecake Factory restaurant, is in violation of 42 U.S.C. §12181 et seq., the

    ADA and 28 C.F.R. §36.302 et seq., and both Defendants are discriminating against the

    Plaintiff as a result of inter alia, the following specific violations:

      i.    As to Defendant Factory Restaurants (operator of the restaurant) and Defendant

            Balbro (owner of the commercial property) (jointly and severally), Plaintiff had

            difficulty using a gated door (which services the exterior seating area) without

            assistance, as the door has a sloped surface within the required maneuvering

            clearance of the door. This is a violation of Section 4.13.6 of the ADAAG and

            Section 404.2.4 of the 2010 ADA Standards for Accessible Design (maneuvering

            clearances shall extend the full width of the doorway and the required latch side or

            hinge side clearance). Section 4.13.6 states that the minimum maneuvering

            clearances for doors be within specifications shown in Fig. 25 and that the ground

            floor within the required clearance be level and clear. The clear maneuvering

            clearance for a front approach must be 48 min (and for side approach, 54 by 42 min),

            which not attained in the instant case. Section 404.2.4 states that maneuvering

            clearances shall extend the full width of the doorway and the required latch side or

            hinge side clearance.

     ii.    As to Defendant Factory Restaurants (operator of the restaurant) and Defendant

            Balbro (owner of the commercial property) (jointly and severally), Plaintiff had

            difficulty using the exit gate (from the exterior seating area) without assistance, as

            the gate does not provide a smooth surface or kick plate on the push side. This

            failure is a violation of Section 404.2.10 of the 2010 ADA Standards for Accessible




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            Design which requires swinging doors and gate surfaces within 10" (225 mm) of the

            finished floor or ground (measured vertically) to provide a smooth surface or kick

            plate on the push side extending the full width of the door or gate.

     iii.   As to Defendant Factory Restaurants (operator of the restaurant) and Defendant

            Balbro (owner of the commercial property) (jointly and severally), Plaintiff had

            difficulty closing the restroom stall door, as it does not have the required pull

            handles on both sides of the door near the latch. This is a violation of 28 C.F.R. Part

            36, Section 4.27.4 of the ADAAG which states that controls and operating

            mechanisms shall be operable with one hand and shall not require tight grasping,

            pinching, or twisting of the wrist. This is also a violation Section 604.8.1.2 of the

            2010 ADA Standards for Accessible Design which states that toilet compartment

            doors, including door hardware, shall comply with Section 404; specifically,

            Sections 404.2.7 and 309.4: “operable parts of such hardware shall be 34 inches (865

            mm) minimum and 48 inches (1220 mm) maximum above the finished floor or

            ground.”

     iv.    As to Defendant Factory Restaurants (operator of the restaurant) and Defendant

            Balbro (owner of the commercial property) (jointly and severally), Plaintiff could

            not use the lavatory outside the stall without assistance, as the lavatory does not

            provide knee clearance above the finished floor to bottom leading edge of fixture at

            8” horizontal projection. The appropriate knee clearance must be at least 27” (685

            mm) high, 30” (760 mm) wide, and 19” (485 mm) deep underneath the sink. The

            lavatory sink is mounted in violation of the requirements in Section 4.19.2 of the

            ADAAG which states that lavatories shall be mounted with the rim or counter




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           surface no higher than 34 in (865 mm) above the finished floor. This is a violation of

           Section 606.2 of the 2010 ADA Standards for Accessible Design which requires

           compliance with Section 306.3 (Fig. 306.3). Section 606.3 also states that lavatories

           shall be mounted with the rim or counter surface no higher than 34 in above the

           finished floor.

           28.     Pursuant to the ADA, 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304,

    Defendants are required to make the commercial property and the Cheesecake Factory

    restaurant operated therein accessible to persons with disabilities since January 28, 1992.

    Defendants have jointly and severally failed to comply with this mandate.

           29.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

    Plaintiff’s injunctive relief; including an order to alter the commercial property and the

    Cheesecake Factory restaurant located therein such that it is made readily accessible to, and

    useable by, individuals with disabilities to the extent required by the ADA.

           WHEREFORE, Plaintiff Jesus Gonzalez hereby demands judgment against

    Defendant Balbro 25-26, LLC (owner of the commercial property) and Defendant The

    Cheesecake Factory Restaurants, Inc. (operator of the Cheesecake Factory restaurant located

    therein) and requests the following injunctive and declaratory relief:

              a)        The Court declare that Defendants have violated the ADA;

              b)        The Court enter an Order directing Defendants to evaluate and neutralize

              their policies, practices and procedures toward persons with disabilities,

              c)        The Court enter an Order requiring Defendants to alter the commercial

              property and the Cheesecake Factory restaurant located therein such that it




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               becomes accessible to and usable by individuals with disabilities to the full extent

               required by the Title III of the ADA;

               d)       The Court award reasonable costs and attorneys fees; and

               e)       The Court award any and all other relief that may be necessary and

               appropriate.

     Dated this 5th day of July, 2022.

                                                  Respectfully submitted,

                                                  /s/ J. Courtney Cunningham
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